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TikTok Is Shaping Politics. But How?
Two researchers have studied political expression on the app since the Musical.ly era. Hereʼs what
they found.

By John Herrman

June 28, 2020


As a place where millions of young Americans perform and explore their identities in public, TikTok
has become a prominent venue for ideological formation, political activism and trolling. It has
homegrown pundits, and despite its parent company’s reluctance to be involved with politics — the
service does not allow political ads — it has attracted interest from campaigns. It is also a space
where people can be gathered and pressed into action quickly.

TikTok was instrumental in the organization of a mass false-registration drive ahead of a Trump
rally in Tulsa, Okla., where many seats were unﬁlled. It has ampliﬁed footage of police brutality as
well as scenes and commentary from Black Lives Matter protests around the world, with videos
created and shared on the platform frequently moving beyond it. They carry TikTok’s distinctive
and wide-ranging audiovisual vernacular: often playfully disorienting, carefully edited, arch and
musical. It has been suggested by many, including The New York Times, that TikTok teens will save
the world.

The truth is more complicated. A team of researchers has been analyzing political expression on
TikTok since, well, before it was TikTok. While nonusers of TikTok may think it’s bursting onto the
political stage rather suddenly, and that it has something like a collective political identity, the
research gives a different picture.

It depicts a diverse, diffuse and not nearly united community of millions of young people discovering
the capabilities and limits of a platform that is, despite its many similarities with predecessors, a
unique and strange place.

In an email exchange, Ioana Literat, an assistant professor of communication and media at Teachers
College, Columbia University, and Neta Kligler-Vilenchik, an assistant professor of communication
at the Hebrew University of Jerusalem, discussed the characteristics of political expression on
TikTok and why it feels like a novel phenomenon.

This interview has been edited.

The idea that TikTok is an engine for progressive young politics is gaining some currency among
people who don’t use the platform. What might outsiders be surprised to find on TikTok, in terms of
youth political expression? Is there anything resembling consensus?


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Ioana Literat: I’ve noticed this tendency recently, not only on older social media like Twitter but also
in the press. It plays into larger debates about youth civic attitudes — and especially youth civic
attitudes online — which tend to verge between utopia and dystopia.

On the one hand, youth are hailed (or tokenized — think Greta Thunberg and the Parkland youth) as
the future of democracy, for whom political expression comes easy. But on the other hand, people are
worried about how they don’t show up at the polls, or fall prey to misinformation, or don’t care about
newspapers anymore. And all of these are true; it’s not an either/or kind of situation.

Neta Kligler-Vilenchik: Extreme views, ranging from dystopian to utopian, are voiced not only in
regard to youth, but also in regard to any media phenomenon that is signiﬁcant and new. As early as
Socrates’s concern that the written word would eradicate wisdom, every new technology has been
believed to either be our savior (the internet will bring people around the world into one global
community!) or our doom (robots will make us all unemployed!).

To me, this continuity is quite reassuring, because it shows us that our fears and hopes are not so
much around the traits of the speciﬁc new technology, rather they are broad societal fears and hopes
that are projected onto whatever technology is new and not yet understood. To most of its adult
commenters, TikTok is a big unknown.

Dr. Literat: In terms of youth political expression, while there’s a dynamic and inﬂuential liberal
activist community on TikTok, there’s actually plenty of conservative political expression, and pro-
Trump voices deﬁnitely ﬁnd an audience on the platform.

We found this to be true in our early research on Musical.ly, in the aftermath of the 2016 election,
and it’s still true today on TikTok, as we’re gearing up for the 2020 election. On TikTok, you can ﬁnd
powerful political statements and activist organizing. You can ﬁnd young people lip-syncing
speeches by Trump or Obama (both earnestly and sarcastically). You can also ﬁnd plenty of racist
and sexist content, conspiracy theories and misinformation, and kids showing off their gun
collections and posing with Confederate ﬂags.

It’s hard to refer to what we see on the platform as consensus. Rather, we ﬁnd that TikTok enables
collective political expression for youth — that is, it allows them to deliberately connect to a like-
minded audience by using shared symbolic resources.

Dr. Kligler-Vilenchik: Shared symbolic resources can be physical (MAGA hats), visual (the closed
ﬁst for the Black Lives Matter movement) or hashtags (#alllivesmatter). TikTok-speciﬁc elements
like viral dances, popular soundtracks, etc. are also shared symbolic resources that help facilitate
connections and foreground the collective aspects of youth political expression.

Are there novel ways in which political conflict unfolds on TikTok? It doesn’t seem to be especially
well suited to the sorts of conflict we’re familiar with on some older platforms.

Dr. Literat: There’s relatively little crosscutting political talk (i.e. across partisan lines, with
politically heterogeneous others). And when it does happen, it’s not very productive. It’s still a very
polarized discussion of us v. them.

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Something that’s pretty special about TikTok in terms of both political expression and political
dialogue/conﬂict is that it’s all ﬁltered through young people’s personal identities and experiences.
Political dialogue on the platform is very personal, and youth will often state diverse social identities
— e.g. Black, Mexican, L.G.B.T.Q., redneck, country — in direct relation to their political views.

Not to say that political talk on other social media platforms is not personal, but having done
comparative analyses, we’re really struck by just how front-and-center youth identities are on
TikTok.

Dr. Kligler-Vilenchik: If we return to the idea of collective political expression as the ability to speak
to a like-minded audience through shared symbolic resources, we see that this enables at least the
potential for a conversation across political views.

So, some users may choose to tag their video with #bluelivesmatter and speak to a certain audience.
But they can also choose to tag their video with #blacklivesmatter, and that way reach a different
audience, with a different view. Often this is done ironically, as a parody of others’ views (e.g., a
video tagged #whitelivesmatter that goes on to explain the idea of white privilege), but it may also
be a way to spark conversation between sides.

Lastly, if you’ve been able to check in, have you noticed anything surprising about youth expression
on TikTok around BLM, racism and policing in the last few weeks?

Dr. Literat: The collective aspects of youth political expression — which materialize, for instance, in
frequently used songs like Childish Gambino’s “This Is America” — are very salient in the context of
BLM-related expression on TikTok.

Like hashtags, these songs function as connective threads among the videos. At the same time,
there is such a wide variety in terms of style and ethos of expression, from anger to silliness to
humor, from confessionals to original songs to footage of protests to memes to interviews or oral
histories.

There’s also a sense of generational awareness and generational solidarity, which is connected to
this concept of collective political expression. On footage of protests, you see a lot of comments like
“Gen Z is changing the world,” “our generation is so powerful,” “I love our generation with all my
heart” — which is really interesting because generations, and especially terms like Gen Z or Gen
Alpha, are how outsiders (academics, commenters, brands, etc.) usually refer to youth.

It may be that youth are reclaiming these terms to assert their agency, or perhaps these larger
societal discourses are seeping into youth discourse too.

Dr. Kligler-Vilenchik: Looking at what’s going on in the U.S. right now from outside (I’m in Israel),
I’m struck by how these same hashtags are also used by people from outside the U.S. to support the
Black Lives Matter movement and also connect it to localized instances of racism and anti-
government protest.




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In Israel, protests in solidarity with BLM were infused with the protest of Ethiopian-origin Israelis
who suffer from racial discrimination and police brutality. This speaks to how TikTok enables young
people to connect a personalized political message to a broader political moment.




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